Filed 05/26/16                                   Case 15-14228                                              Doc 107


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTE ORDER


    Case Title :        Oscar Gutierrez                                   Case No : 15−14228 − B − 13
                                                                             Date : 05/25/2016
                                                                             Time : 01:30

    Matter :            [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                        $176) (eFilingID: 5697015) (msam)


    Judge :             Rene Lastreto II                       Courtroom Deputy : Jennifer Dauer
    Department :        B                                              Reporter : Electronic Record


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
                Debtor(s) Attorney − Glen E. Gates


                                              CIVIL MINUTE ORDER


    For the reasons stated on the record,

    IT IS ORDERED that the motion is continued to June 22, 2016 at 9:30 a.m. in Department B, Courtroom
    13, Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California. The court adopts the previous 11
    U.S.C. Section 362(e) findings set forth in the January 28, 2016 minutes.




                 May 26, 2016
Filed 05/26/16                                    Case 15-14228                                             Doc 107


    This document does not constitute a certificate of service. The parties listed below will be served a
    separate copy of the attached Civil Minute Order.


    Oscar Gutierrez
    211 Center Street
    Orange Cove CA 93646

    Michael H. Meyer
    PO Box 28950
    Fresno CA 93729−8950

    Glen E. Gates
    2377 W. Shaw Avenue, Suite 101
    Fresno CA 93711

    Carlos Garcia
    190 11th St
    Orange Cove CA 93646
